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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                              CIVIL ACTION-LAW

MICHELE WENGER
9828 Bonner Street
Philadelphia, PA 19115

                        Plaintiff
                                                      No.:
                  v.

VISION FINANCIAL                                      Jury Trial Demanded
CORPORATION
11960 Westline Industrial Drive
Suite 330                                                                 6015
Maryland Heights, MO 63146

                        Defendant


                                     COMPLAINT

                                    INTRODUCTION

     1. This1is a lawsuit for damages brought by an individual consumer for

     Defendant(s)' alleged violations ofthe Fair Debt Collection Practices Act, 15 U.S.C.

     1692, et seq. (hereinafter "FDCPA") and the Telephone Consumer Protection Act, 47

     U.S.C. Section 227, et seq. and other common law claims. These laws prohibit bill

     collectors/debt collectors from engaging in abusive, deceptive and unfair collection

     practices.

                            JUIUDSDICTION AND VENUE

2.      Jurisdiction ofthis Court arises under 15 U.S.C. Section 1692k(d), 28 U.S.C.

Section 1331, 133 7 and supplemental jurisdiction exists for the state law claims pursuant

to 28 U.S.C. Section 1367. Venue is proper in accordance with 28 U.S.C. Section

1391(b).
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3.      Defendant obtains the benefit(s) of regularly transacting business in Philadelphia

        County ofthe Commonwealth of Pennsylvania.

4.      A portion of the conduct complained of in this Complaint occurred in

Philadelphia County.




                                             PARTIES

5.      All previous paragraphs of this complaint are incorporated by reference and made

a part of this Complaint.
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6.      Plaintiff is Michelle Wenger, an adult individual with a current address of 9828

Bonner Street, Philadelphia, PA 19115.

7.      Defendant(s) is Visicn Financial Corporation, a business engaged in consumer

debt collection that regularly conducts business in the Eastern District of Peru1sylvania

with its principle place of business located at 11960 Westline Industrial Drive, Suite 330,

Maryland Heights, MO 63146. Defendant attempts to collect debts in default using the

telephone and the mails and :~egularly attempt to collect said debts.


                              FACTUAL BACKGROUND

8.      All previous paragraphs of this Complaint a~e incorporated by reference as though

fully set forth herein.

9.      The alleged debt at issue arose out of a transaction which was primarily for

personal, family or household purposes.

10.     On or about September 2013, October 2013 and October 10,2013, within 365

days from the date of the filing of this Complaint, Defendant called via autodialer and/or
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excessively contacted Plaintiff by telephone at Piaintiffs cellular numb~:r 215--570-0302.

Defendant called Plaintiffusing different phone numbers such as 215--710-0646 and 201-

266-5327 in an attempt to deceive and harass Plaintiff.

11.     On or about October 10, 2013, in an attempt to coerce payment, shame and
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humiliate Plaintiff, Defend:mt and its agent/employee, Veronica Medinado, called

Plaintiff on her cell phone <md was belligerent and demeaning to Plaintiff.

12.     At all times material hereto, on October 10, 2013 Plaintiff explained to Defendant

and its agent/employee Veronica Medinado that currently she was the only one working

in her family.

13.    Notwithstanding Plaintiffs explanation regarding her being the only one working

in the family, Defendant and its agent/employee Veronica Medinado stated as follows:

"That's not our problem;"

"I don't know why you're throwing this on him (Plaintiff's husband), it's your debt;"

"We gave you the money, now we want the money back; "
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"Sounds like you 're stalling; "

"How often do you get paid;"

"Let me get your account number. ''

       Defendant did in fact harass, humiliate and shame Plaintiff.

14.    Plaintiffs believes and therefore avers that at no time material hereto did Plaintiff

disclose her cellular phone number 215-570-0302 to the original creditor or to Defendant.

15.    At no time material hereto were any of the phone calls Defendant placed to

Plaintiff of an emergency nature.
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16.     Defendant acted in a false, deceptive, misleading and unfair manner by engaging

in false representation or deceptive means to collect or attempt to collect any debt.

17.     Defendant's conduct was intended to harass, annoy and/or abuse Plaintiff and

Plaintiff suffered and continues to suffer emotional upset and emotional distress due to

Defendant's conduct.

18.     Defendant knew or should have known that its actions violated the FDCPA and

the TCPA and could have taken the steps necessary to bring their agent's actions within

compliance of these said statutes. Defendant neglected to do so and failed to adequately

review those actions to insure compliance with said laws.

19.     At all times material hereto, Defendant was acting by and through its ag•ents,

servants and/or employees, who were acting within the scope and course of their

employment and under the control of Defendant named herein.

20.     At all times material hereto, Defendant's conduct and the conduct of Defendant's

agent(s), servant(s) and/or employee(s) was reckless, willful, wanton and negligent and in

disregard for federal and state laws regarding Plaintiff.

21.     As a result of Defendant's conduct, Plaintiff sustained emotional distress, mental

pain and anguish, shame, embarrassment, humiliation and will continue to suffer same

for an indefinite time in the :ruture, all to her great detriment and loss.



                                        COUNT I
                                YIOLATION OF THE FDCPA
                                    15 USC 1692 et. sm:


22.     All previous paragraphs of this Complaint are incorporated by reference as though

fully set forth herein.
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23.    Plaintiff is a consumer debtor as defined by the Fair Debt Collection Practices Act

       (FDCPA), 15 USC 1692a(3).

24.    Defendant is a debt collector as defined by the FDCPA, 15 USC 1692a(6).

25.    At all times mentioned herein, Defendant was attempting to collect on an alleged

consumer "qebt"against Plaintiff through "communications" as defined by FDCP A 15

U.S.C. Section1692a(2) and 1692a(5).

26.    Defendant violated the FDCPA, 15 U.S.C Sections 1692c(a)(l), 1692d, 1692e,

1692e(7), 1692e(l 0) and 1692f in the following manner:

              (a)     Communicating with the Plaintiff at a time or place known or

                      whici1 should be known to be inconvenient to the consumer

                     Plaintiff;

              (b)    Engaging in conduct the natural consequence of which is to harass,

                     oppress or abuse any person in connection with the col.lection of a

                     debt;

           ' (c)     Usin~; false or deceptive means to collect or attempt to collect any

                     debt or to obtain information concerning a consumer;

              (d)    Falsely representing or implying that the consumer committed

                     certain conduct in order to disgrace the consumer;

              (e)    Otherwise using false, deceptive or misleading and unfair or

                     unconscionable means to collect or attempt to collect a debt.
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27.    A violation of any consumer statute, in this case the Telephone Consumer

Protection Act is also a violation of the FDCPA. Defendant engaged in per se violations

of 1692c(a)(l), 1692d, 1692e, 1692e(7), 1692f.

28.     The FDCPA is a strict liability statue and "because the Act imposes strict liability,

a consumer need not show [ntentional conduct by the debt collector to be entitled to

damages. Taylor v. Perrin, Landry, deLaunay & Durand, 103 F.3d 1232 (5th Cir. 1997);

Russell v. l;<'@ifax A.R.S., 74 F.3d 30 (2d Cir. 1996).

29.    Defendant's actions and/or omissions as described above were malicious,

intentional, willful, wanton, reckless and negligent against Plaintiff.

30.    Plaintiff was distres:;ed and suffered from embarrassment, stress and anxiety.

31.    Defendant is liable for the acts committed by its agents under the doctrine of

respondent superior because Defendant's agents were acting within the scope of

their employment with Defendant.

32.    In the alternative, Defendant(s) is liable for the conduct of its agents I employees

under the theory of joint and several liability beca1:1se Defendant and its agents I

employees were engaged in a joint venture and were acting jointly and in concert.

33.    Any mistake made by Defendant would have included a mistake of Law.

34.    Any mistake made by Defendant would not have been a reasonable or bona fide

       mistake.

                                  COUNT II
                       . VIOLATION OF THE TELEPHONE
          !;~ONSUMER PROTECTION ACT (TCPA) 47 USC SEC. 227l8T.                         sm
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35.     All previous paragraphs of this Complaint are incorporated by reference as though

fully set forth herein.

36.     In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C.

        Section 227 (TCPA), in response to a growing number of consumer complaints

        regarding certain telemarketing practices.
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37.     The TCPA regulates, among other things, the use of automated telephone

        equipment, or "autodialers." Specifically, the plain language of section 227

        (b)(1 )(A)(iii) prohibits the use of autodialers to make any call to a wireless

        number in the absence of an emergency or the prior express consent of the called

        party.

38.     At all times relevant, Plaintiff was a "person" as defined by 47 U.S.C. Section 153

        (10).

39.    Plaintiff's account went into collections, and the account was referred to

       Defendant for the purpose of collection.

40.    At n<D time did Plaimiffprovide Defendant with Plaintiff's cell phone number.

41.    At no time did Plaintiff provide the original creditor for the account that was the

       subject of Defendant's collection activity with Plaintiff's cell phone number.

42.    Defendant repeatedly contacted Plaintiff on Plaintiff's cellular telephone.

       Plaintiff received repeated calls from Defendant on Plaintiff's cellular phone.

43.    It is believed and averred that Defendant used some method or mechanism to look

       up Plaintiff's cell phone number in order to facilitate the calls, including, but not

       limited to skip tracing.

44.    Many of the telephone c:alls by Defendant to Plaintiff on Plaintiff's cellular
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        telephone occurred via an "automatic telephone dialing system," as defined by 47

        U.S.C. section 227 (a)(l), and all calls that are the subject of this Complaint

        occurred within four years of the filing of this Complaint.

45.     The telephone number that Defendant used to contact Plaintiff at by using an

        "automatic telephone dialing system," was assigned to Plaintiff's cellular

        telephone service as specified in 47 U.S.C. Section 227(b)(l)(A)(iii).

46.     The complained of telephone calls constituted calls not for emergency purposes as

        defined by 47 U.S.C. Section 227 (b)(l)(A)(i).

47.     Plaintiff did not provide "express consent" allowing defendant, or the original

        creditor
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                 to place telephone calls to Plaintiff's cellular phone utilizing an "artificial

        or prerecorded voice" or placed by an "automatic telephone dialing system,"

        within the meaning of 47 U.S.C. Section 227(b)(l)(A).


        WHEREFORE, Plaintiff demands judgment in her favor and against Defendant

and seeks compensatory and punitive damages against Defendant and all other relief as

the Court deems just and proper.

                                   COUNT HI
VIOLATION of PENNSYLVANIA'S FAIR TRADE EXTENSION UNIFORMITY
  ACT, 73 PS 2270.1 et. :seq. and PENNSYLVANIA'S UNFAIR TRADE AND
           CONSUMER PROTECTION LAW, 73 PS. 201 et. seg.


48.     All previous paragraphs of this Complaint are incorporated by reference as though
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fully set forth herein.

49.     Plaintiff is a consume:r debtor as defined by Permsylvania's Fair Trade Extension

Uniformity as Act, 73 PS 22?0.1 et. seq. and Pennsylvania's Unfair Trade and Consumer

Protection Law, 73 PS. 201 et. seq.
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50.     Defendant is a debt collector as defined by.Pennsylvania's Fair Trade Extension

Unifmmity as Act, 73 PS 2270.1 et. seq. and Permsylvania's Unfair Trade and Consumer

Protection Law, 73 PS. 201 et. seq.

51.     Pennsylvania's Fair Trade Extension Uniformity as Act, 73 PS 2270.1 et. seq. and

Pennsylvania's Unfair Trade and Consumer Protection Law, 73 PS. 201 et. seq. prohibit
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any unlawful attempt to collect a consumer debt.

52.     The aforementioned misconduct by Defendant is also a violation of

Pennsylvania's Fair Trade Extension Uniformity as Act, 73 PS 2270.1 et. seq. and

Pennsylvania's Unfair Trad~ and Consumer Protection Law, 73 PS. 201 et. seq. because

it was an unlawful attempt to collect a consumer debt. A violation of the FDCAP would

also be a per se violation of Pennsylvania's Fair 1\ade Extension Uniformity as Act, 73

PS 2270.1 et. seq. and     Penn:~ylvania's   Unfair Trade and Consumer Protection Law, 73

PS. 201 et. seq.


                                                DAMAGES

53.     All previous paragraphs ofthis Complaint are incorporated by reference as though

fully set forth herein.

54.     Defendant is liable to Plaintiff for money damages pursuant to 15 U.S.C.

Sections1692k(a)(l), 1692k(a)(2)(A) and attorney's fees pursuant to 15 U.S.C. Section

1692k(a)(3).

        (a)        Actual damages, including but not limited to phone, fax, stationary,
postage, etc. pursuant to 15 U.S.C. Section 1692k(a)(l);


       (b)         Statutory Damages pursuant to 15 U.S.C. Section 1692k(a)(2)(A) -·
                   $1,000.00;
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       (c) '   $500-$1,500 per call statutory damages pursuant to TCP A;
       (d)     $5,000.00 Damages for Emotional Distress, Humiliation, Embarrassment
               and Anxiety;
       (e)     Statutory damages pursuant to 73 P.S. Section 2270.5(c);
       (f)     Actual Damc.ges pursuant to 73 P.S. Section 201-9.2(a);
       (g)     Statutory damages pursuant to 73 P.S. Section 201.9-2(a);
       (h)     Treble damages pursuant to 73 P.S. Section 201-9.2(a)
       (i)     Attorney's f,;:es and costs pursuant.to 15 U.S.C. Section 1692 k(a)(3).
               Attorney's fees are calculated at a rate of $350.00 per hour.
               Plaintiffs attorney fees continue to accrue as the case move forward.
       (j)     All other relL~fthat the Court deems just and proper.


       WHEREFORE, Plaintiff demands judgment in her favor and against Defendant

and seeks compensatory damages, punitive damages, attorney's fees and costs against

Defendant and all other relief as the Court deems just and proper.


                                                     Respectfully Submitted,
                                                     BLITSHTEIN & WEISS, P.C.

                                                     By:-~ ~
                                                             T~~squire
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